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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7 UNITED STATES OF AMERICA,                           )
                                                       )
 8                             Plaintiff,              )    Case No. MJ09-105 BAT
                                                       )
 9         v.                                          )
                                                       )    DETENTION ORDER
10 FROYLAN CEJA-VARGAS ,                               )
                                                       )
11                             Defendant.              )
                                                       )
12
     Offense charged:
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           Conspiracy to Distribute Methamphetamine.
14
      Date of Detention Hearing: March 13, 2009.
15
           The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and
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      based upon the factual findings and statement of reasons for detention hereafter set forth, finds
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      that no condition or combination of conditions which the defendant can meet will reasonably
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      assure the appearance of the defendant as required and the safety of any other person and the
19
      community.
20
           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
           Based on the information contained in the U.S. Pretrial Services Report, the fact that
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      defendant is not a U.S. citizen and has an immigration detainer lodged against him, and the nature
23
      of the offense, defendant stipulated to detention.


     DETENTION ORDER -1
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 1         It is therefore ORDERED:

 2         (1)     Defendant shall be detained pending trial and committed to the custody of the

 3    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 4    from persons awaiting or serving sentences, or being held in custody pending appeal;

 5         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 6    counsel;

 7         (3)     On order of a court of the United States or on request of an attorney for the

 8    Government, the person in charge of the correctional facility in which Defendant is confined shall

 9    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

10    with a court proceeding; and

11         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

12    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

13         DATED this 13th day of March, 2009.

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15                                                        A
                                                          BRIAN A. TSUCHIDA
16                                                        United States Magistrate Judge

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     DETENTION ORDER -2
